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                     Exhibit A
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                                                                         Service of Process
                                                                         Transmittal
                                                                         06/04/2018
                                                                         CT Log Number 533450592
TO:     Stacie Simpson
        Navigant Consulting
        Pace Claim Services, LLC, 100 American Metro Blvd Ste 108
        Hamilton, NJ 08619-2319

RE:     Process Served in Delaware

FOR:    Crane Co. (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                 Paul E. Cruise, Pltf. vs. Air & Liquid Systems Corporation, etc., et al., Dfts. // To:
                                 CRANE CO.
DOCUMENT(S) SERVED:              Summons, Complaint
COURT/AGENCY:                    Richland County Court of Common Pleas, SC
                                 Case # 2018CP4002849
NATURE OF ACTION:                Asbestos Litigation - Personal Injury
ON WHOM PROCESS WAS SERVED:      The Corporation Trust Company, Wilmington, DE
DATE AND HOUR OF SERVICE:        By Process Server on 06/04/2018 at 13:25
JURISDICTION SERVED :            Delaware
APPEARANCE OR ANSWER DUE:        Within 30 days after the service thereof, exclusive of the day of such service
ATTORNEY(S) / SENDER(S):         Jonathan M. Holder
                                 DEAN OMAR BRANHAM, LLP
                                 302 N. Market Street
                                 Ste. 300
                                 Dallas, TX 75202
REMARKS:                         The documents received have been modified to reflect the name of the entity being
                                 served.
ACTION ITEMS:                    CT has retained the current log, Retain Date: 06/05/2018, Expected Purge Date:
                                 06/10/2018

                                 Image SOP

                                 Email Notification, Stacie Simpson PACEservice@paceclaims.com

                                 Email Notification, Crane Co. SOP CraneCoCTService@klgates.com

SIGNED:                          The Corporation Trust Company
ADDRESS:                         1209 N Orange St
                                 Wilmington, DE 19801-1120
TELEPHONE:                       302-658-7581




                                                                         Page 1 of 1 / MS
                                                                         Information displayed on this transmittal is for CT
                                                                         Corporation's record keeping purposes only and is provided to
                                                                         the recipient for quick reference. This information does not
                                                                         constitute a legal opinion as to the nature of action, the
                                                                         amount of damages, the answer date, or any information
                                                                         contained in the documents themselves. Recipient is
                                                                         responsible for interpreting said documents and for taking
                                                                         appropriate action. Signatures on certified mail receipts
                                                                         confirm receipt of package only, not contents.
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                                                                                               ELECTRONICALLY FILED -2018 May 255:14 PM - RICHLAND - COMMON PLEAS - CASE#2018CP4002849
STATE OF SOUTH CAROLINA )                   IN THE COURT OF COMMON PLEAS
                        )                   FOR THE FIFTH JUDICIAL CIRCUIT
COUNTY OF RICHLAND      )                   C/A NO.


PAUL E. CRUISE,

               Plaintiff,                                In Re:
VS.                                                      Asbestos Personal Injury Litigation
                                                         Coordinated Docket
AIR & LIQUID SYSTEMS CORPORATION,
individually and as successor-in-interest to                    Living Mesothelioma
BUFFALO PUMPS

AIW-2010 WIND DOWN CORP.,
individually and successor-in-interest to                           SUMMONS
AMERICAN INSULATED WIRE
CORPORATION
                                                               (Jury Trial Demanded)
ALFA LAVAL, INC.

API HEAT TRANSFER, INC.

ARMSTRONG INTERNATIONAL, INC.

AT&T CORPORATION

AURORA PUMP COMPANY

CARRIER CORPORATION

CBS CORPORATION, a Delaware corporation,
f/k/a VIACOM INC., successor by merger to CBS
CORPORATION, a Pennsylvania corporation,
f/k/a WESTINGHOUSE ELECTRIC
CORPORATION, and also as successor-in-interest
to BF STURTEVANT;

CLARK-RELIANCE CORPORATION,
successor-in-interest to JERGUSON GAGE &
VALVE COMPANY

COVIL CORPORATION
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                                                                                      ELECTRONICALLY FILED-2018 May255:14 PM - RICHLAND-COMMON PLEAS - CASE#2018CP4002849
CROSBY VALVE, LLC

DANIEL INTERNATIONAL
CORPORATION f/k/a DANIEL
CONSTRUCTION COMPANY, INC.;

EATON CORPORATION

ECODYNE CORPORATION

FISHER CONTROLS INTERNATIONAL,
LLC, wholly owned subsidiary of EMERSON
ELECTRIC COMPANY

FLOWSERVE US, INC.

FLUOR CONSTRUCTORS
INTERNATIONAL, f/lc/a/ FLUOR
CORPORATION

FLUOR CONSTRUCTORS
INTERNATIONAL, INC.

FLUOR DANIEL SERVICES
CORPORATION

FLUOR ENTERPRISES, INC.

FMC CORPORATION,
individually and as successor-in-interest to
NORTHERN PUMPS

FOSTER WHEELER ENERGY
CORPORATION

GARDNER DENVER, INC.

GENERAL ELECTRIC COMPANY

GOULDS PUMPS, INC.,
d/b/a GOULDS PUMPS (IPG) LLC
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                                                                                      ELECTRONICALLY FILED -2018 May 25 5:14 PM - RICHLAND - COMMON PLEAS- CASE#2018CP4002849
IMO INDUSTRIES, INC.,
individually and successor-in-interest to
IMO DELAVAL

INGERSOLL-RAND COMPANY

JERGUSON GAGE & VALVE COMPANY,
d/b/a CLARK RELIANCE CORPORATION

McNALLY INDUSTRIES, LLC,
successor-in-interest to NORTHERN FIRE
APPARATUS

MARMON ENGINEERED WIRE & CABLE
LLC, individually and as successor-in-interest to
TE WIRE & CABLE LLC, f/k/a THERMO-
ELECTRIC WIRE & CABLE CO.

METROPOLITAN LIFE INSURANCE
COMPANY, a wholly-owned subsidiary of
METLIFE INC.;

THE NASH ENGINEERING COMPANY

NOKIA OF AMERICA CORPORATION,
individually and as successor-in-interest to
ALCATEL-LUCENT USA INC., successor-in-
interest to LUCENT TECHNOLOGIES INC, as
successor in interest to WESTERN ELECTRIC
COMPANY, INC., and as successor in interest to
BELL LABORATORIES, INC.

OCCIDENTAL CHEMICAL
CORPORATION, f/k/a HOOKERS CHEMICAL
CO., and as successor to DUEZ CORPORATION

ROCKWELL AUTOMATION INC.,
individually and as successor-in-interest ALLEN-
BRADLEY COMPANY LLC, f/k/a ROCKWELL
INTERNATIONAL CORPORATION

SCHNEIDER ELECTRIC USA, INC.,
f/k/a SQUARE D COMPANY

SOUTHWIRE COMPANY, LLC,
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                                                                                                              ELECTRONICALLY FILED -2018 May255:14 PM - RICHLAND- COMMON PLEAS - CASE#2018CP4002849
 individually and successor-in-interest to)
 AMERICAN INSULATED WIRE                  )
 CORPORATION                              )
                                          )
 SPIRAX SARCO, INC.                       )
                                          )
 THER1VIO ELECTRIC COMPANY, INC.,         )
 f/k/a THERMO-ELECTRIC WIRE & CABLE       )
 CO.                                      )
                                          )
 TRANE U.S., INC.,                        )
 f/k/a AMERICAN STANDARD COMPANIES, )
 successor-in-interest to AMERICAN BLOWER )
 COMPANY                                  )
                                          )
 WARREN PUMPS, LLC                        )
                                          )
 WEIR VALVES & CONTROLS USA, INC., )
 f/k/a ATWOOD & MORRILL CO., INC.,        )
                                          )
                Defendants.               )
                                          )

                                                SUMMONS

TO: DEFENDANTS

        YOU ARE HEREBY SUMMONED and are required to answer the Complaint in this action, a

copy of which is herewith served upon you, and to serve a copy of your Answer upon the office of Plaintiffs

counsel, Dean Omar Branham, LLP located at 302 N. Market Street, 3rd Floor, Dallas, Texas 75202, within

thirty (30) days after the service thereof, exclusive of the day of such service.


        Respectfully submitted,

                                      DEAN OMAR BRANHAM, LLP


                                      By: /s/ Jonathan M Holder
                                         Jonathan M. Holder- (SC Bar No. 77935)
                                         Jessica M. Dean- (TX Bar No. 24040777)
                                         To be admitted pro hac vice
                                         Charles W. Branham, III, (TX Bar No. 24012323)
                                         Admitted pro hac vice
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                                                                                ELECTRONICALLY FILED - 2018 May 25 5:14 PM - RICHLAND - COMMON PLEAS - CASE#2018CP4002849
                              302 N. Market Street, Ste. 300
                              Dallas, Texas 75202


                              Theile B. McVey
                              Kassel & McVey Attorneys at Law
                              1330 Laurel Street
                              Post Office Box 1476
                              Columbia, South Carolina 29202

                              ATTORNEYS FOR PLAINTIFF
May 25, 2018
Dallas, Texas
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                                                                                               ELECTRONICALLY FILED-2018 May 255:14 PM- RICHLAND - COMMON PLEAS- CASE#2018CP4002849
STATE OF SOUTH CAROLINA )                   IN THE COURT OF COMMON PLEAS
                                            FOR THE FIFTH JUDICIAL CIRCUIT
COUNTY OF RICHLAND                          C/A NO.


PAUL E. CRUISE,

               Plaintiff,                                In Re:
VS.                                                      Asbestos Personal Injury Litigation
                                                         Coordinated Docket
AIR & LIQUID SYSTEMS CORPORATION,
individually and as successor-in-interest to                    Living Mesothelioma
BUFFALO PUMPS

AIW-2010 WIND DOWN CORP.,
individually and successor-in-interest to                          COMPLAINT
AMERICAN INSULATED WIRE
CORPORATION
                                                               (Jury Trial Demanded)
ALFA LAVAL, INC.

API HEAT TRANSFER, INC.

ARMSTRONG INTERNATIONAL, INC.

AT&T CORPORATION

AURORA PUMP COMPANY

CARRIER CORPORATION

CBS CORPORATION, a Delaware corporation,
f/k/a VIACOM INC., successor by merger to CBS
CORPORATION, a Pennsylvania corporation,
f/k/a WESTINGHOUSE ELECTRIC
CORPORATION, and also as successor-in-interest
to BF STURTEVANT;

CLARK-RELIANCE CORPORATION,
successor-in-interest to JERGUSON GAGE &
VALVE COMPANY

COVIL CORPORATION

CRANE CO.
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                                                                                       ELECTRONICALLY FILED -2018 May255:14 PM - RICHLAND - COMMON PLEAS- CASE#2018CP4002849
CROSBY VALVE, LLC

DANIEL INTERNATIONAL
CORPORATION f/k/a DANIEL
CONSTRUCTION COMPANY, INC.;

EATON CORPORATION

ECODYNE CORPORATION

FISHER CONTROLS INTERNATIONAL,
LLC, wholly owned subsidiary of EMERSON
ELECTRIC COMPANY

FLOWSERVE US, INC.

FLUOR CONSTRUCTORS
INTERNATIONAL, f/k/a/ FLUOR
CORPORATION

FLUOR CONSTRUCTORS
INTERNATIONAL, INC.

FLUOR DANIEL SERVICES
CORPORATION

FLUOR ENTERPRISES, INC.

FMC CORPORATION,
individually and as successor-in-interest to
NORTHERN PUMPS

FOSTER WHEELER ENERGY
CORPORATION

GARDNER DENVER, INC.

GENERAL ELECTRIC COMPANY

GOULDS PUMPS, INC.,
d/b/a GOULDS PUMPS (IPG) LLC

IMO INDUSTRIES, INC.,
individually and successor-in-interest to
IMO DELAVAL




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                                                                                       ELECTRONICALLY FILED-2018 May255:14 PM - RICHLAND - COMMON PLEAS- CASE#2018CP4002849
INGERSOLL-RAND COMPANY

JERGUSON GAGE & VALVE COMPANY,
d/b/a CLARK RELIANCE CORPORATION

McNALLY INDUSTRIES, LLC,
successor-in-interest to NORTHERN FIRE
APPARATUS

MARMON ENGINEERED WIRE & CABLE
LLC, individually and as successor-in-interest to
TE WIRE & CABLE LLC, f/k/a THERMO-
ELECTRIC WIRE & CABLE CO.

METROPOLITAN LIFE INSURANCE
COMPANY, a wholly-owned subsidiary of
METLIFE INC.;

THE NASH ENGINEERING COMPANY

NOKIA OF AMERICA CORPORATION,
individually and as successor-in-interest to
ALCATEL-LUCENT USA INC., successor-in-
interest to LUCENT TECHNOLOGIES INC, as
successor in interest to WESTERN ELECTRIC
COMPANY, INC., and as successor in interest to
BELL LABORATORIES, INC.

OCCIDENTAL CHEMICAL
CORPORATION, f/k/a HOOKERS CHEMICAL
CO., and as successor to DUEZ CORPORATION

ROCKWELL AUTOMATION INC.,
individually and as successor-in-interest ALLEN-
BRADLEY COMPANY LLC, f/k/a ROCKWELL
INTERNATIONAL CORPORATION

SCHNEIDER ELECTRIC USA, INC.,
f/k/a SQUARE D COMPANY

SOUTH WIRE COMPANY, LLC,
individually and successor-in-interest to
AMERICAN INSULATED WIRE
CORPORATION

SPIRAX SARCO, INC.



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                                                                                                       ELECTRONICALLY FILED-2018 May255:14 PM - RICHLAND - COMMON PLEAS - CASE#2018CP4002849
 THER1VIO ELECTRIC COMPANY, INC.,
 f/k/a THERMO-ELECTRIC WIRE & CABLE
 CO.

 TRANE U.S., INC.,
 f/k/a AMERICAN STANDARD COMPANIES,
 successor-in-interest to AMERICAN BLOWER
 COMPANY

 WARREN PUMPS, LLC

 WEIR VALVES & CONTROLS USA, INC.,
 f/k/a ATWOOD & MORRILL CO., INC.,

                Defendants.




                                  GENERAL ALLEGATIONS

        Plaintiff, PAUL E. CRUISE (hereinafter "Plaintiff'), comes before this court and

complains and alleges as follows:

               Plaintiff Paul E. Cruise has been diagnosed with mesothelioma.

               From approximately June 1961 to June 1965, Plaintiff Paul E. Cruise served in the

United States Navy as a Boiler Tender. During this period, Plaintiff Paul E. Cruise worked with

various types of machinery and equipment that exposed him to asbestos containing materials.

Further during this time period, Plaintiff Paul E. Cruise was exposed to these products while

serving at the Charleston Naval Shipyard in North Charleston, South Carolina.

               From approximately 1965 until the present, Paul E. Cruise has been employed as a

professional electrician at various sites throughout the southeastern United States, including South

Carolina. Mr. Cruise primarily worked at commercial sites. Paul E. Cruise's work included

repair, maintenance and renovations, as well as building from the ground up. Paul E. Cruise has

installed, maintained and repaired various types of electrical equipment, including but not limited



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to transformers, arc chutes, arc shields, switch gears, insulated wire, conduit, and electrical panels,

all of which exposed him to asbestos. In addition to exposure to asbestos containing electrical

equipment as outlined herein, Paul E. Cruise's electrical contractor work brought him into contact

with various types of machinery and equipment that required him to come into contact with

asbestos containing materials. During the course of his employment as a professional electrician,

Paul E. Cruise worked at sites including, but not limited to White Horse I and II in Greenville, Sc;

Utica Mohawk in Clemson, SC; a sewing plant in Wallhala, SC; and Baxter Health Care in Baxter

County, Sc.

               During the course of Plaintiff's employment at the location(s) mentioned above,

during both occupational and non-occupational work projects and in other ways, Plaintiff Paul E.

Cruise was exposed to and inhaled, ingested, or otherwise absorbed asbestos fibers emanating from

certain products he was working with and around. Plaintiff Paul E. Cruise worked around other

trades, including but not limited to asbestos-containing products and equipment.

               Plaintiff Paul E. Cruise's cumulative exposure to asbestos as a result of acts and

omissions of Defendants and their defective products, individually and together, was a substantial

factor in causing Plaintiff's mesothelioma and other related injuries and therefore under South

Carolina law, is the legal cause of Plaintiff's injuries and damages.

               Plaintiff was not aware at the time of exposure that asbestos or asbestos-containing

products presented any risk of injury and/or disease.

               Each of the named Defendants is liable for damages stemming from its own tortious

conduct or the tortious conduct of an "alternate entity" as hereinafter defined. Defendants are

liable for the acts of their "alternate entity" and each of them, in that there has been a corporate

name change, Defendant is the successor by merger, by successor in interest, or by other




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acquisition resulting in a virtual destruction of Plaintiff's remedy against each such "alternate

entity"; Defendants, each of them, have acquired the assets, product line, or a portion thereof, of

each such "alternate entity"; such "alternate entities" have acquired the assets, product line, or a

portion thereof of each such Defendant; Defendants, and each of them, caused the destruction of

Plaintiffs remedy against each such "alternate entity"; each such Defendant has the ability to

assume the risk-spreading role of each such "alternate entity;" and that each such defendant enjoys

the goodwill originally attached to each "alternate entity."

                 DEFENDANT                                     ALTERNATE ENTITY
    AIR & LIQUID SYSTEMS                            individually and as successor-in- interest
    CORPORATION                                     to BUFFALO PUMPS, INC.
    AIW-2010 WIND DOWN CORP.                        individually and successor-in-interest to
                                                    AMERICAN INSULATED WIRE
                                                    CORPORATION
    CBS CORPORATION, a Delaware                     a Delaware corporation, f/k/a VIACOM
    corporation                                     INC., successor by merger to CBS
                                                    CORPORATION, a Pennsylvania
                                                    corporation, f/k/a WESTINGHOUSE
                                                    ELECTRIC CORPORATION
    CLARK-RELIANCE CORPORATION                      successor-in-interest to JERGUSON
                                                    GAGE & VALVE COMPANY
    DANIEL INTERNATIONAL                            f/k/a DANIEL CONSTRUCTION
    CORPORATION                                     COMPANY, INC.
   FISHER CONTROLS                                  wholly owned subsidiary of EMERSON
   INTERNATIONAL, LLC                               ELECTRIC COMPANY
   FLUOR CONSTRUCTORS                               f/lc/a FLUOR CORPORATION
   INTERNATIONAL
   FMC CORPORATION                                  individually and as successor-in-interest to
                                                    NORTHERN PUMPS
   GOULDS PUMPS, INC.                               d/b/a GOULDS PUMPS (IPG) LLC
   IMO INDUSTRIES, INC.                             Individually and as successor-in-interest to
                                                    IMO DELAVAL
   JERGUSON GAGE & VALVE                            d/b/a CLARK RELIANCE
   COMPANY                                          CORPORATION
   McNALLY INDUSTRIES, LLC                          successor-in-interest to NORTHERN
                                                    FIRE APPARATUS
   MARMON ENGINEERED WIRE &                         individually and as successor-in-interest to
   CABLE LLC                                        TE WIRE & CABLE LLC, f/k/a




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                                                                                                         ELECTRONICALLY FILED-2018 May255:14 PM- RICHLAND- COMMON PLEAS-CASE#2018CP4002849
                                                      THERMO-ELECTRIC WIRE & CABLE
                                                      CO.
    METROPOLITAN LIFE INSURANCE                       A wholly-owned subsidiary of MetLife
    COMPANY                                           Inc.

    NOKIA OF AMERICA CORPORATIO                       individually and as successor-in-interest to
                                                      ALCATEL-LUCENT USA INC.,
                                                      successor-in-interest to LUCENT
                                                      TECHNOLOGIES INC.; successor in
                                                      interest to WESTERN ELECTRIC
                                                      COMPANY, INC. and successor in
                                                      interest to BELL LABORATORIES, INC.
    OCCIDENTAL CHEMICAL                               f/k/a HOOKERS CHEMICAL CO., and as
    CORPORATION                                       successor to DUEZ CORPORATION
    ROCKWELL AUTOMATION INC.                          individually and as successor-in-interest
                                                      ALLEN-BRADLEY COMPANY LLC,
                                                      f/k/a ROCKWELL INTERNATIONAL
                                                      CORPORATION
    SCHNEIDER ELECTRIC USA, INC.                      f/k/a SQUARE D COMPANY
    SOUTHWIRE COMPANY, LLC                            individually and successor-in-interest to
                                                      AMERICAN INSULATED WIRE
                                                      CORPORATION
    THERMO ELECTRIC COMPANY,                          f/k/a THERMO-ELECTRIC WIRE &
    INC.                                              CABLE CO.
    TRANE US, INC.                                    f/k/a AMERICAN STANDARD
                                                      COMPANIES, successor-in-interest to
                                                      AMERICAN BLOWER COMPANY
    WEIR VALVES & CONTROLS USA,                       f/k/a ATWOOD & MORRILL CO., INC.
    INC.


       8.      Plaintiff has been informed and believes, and thereon alleges, that at all times herein

mentioned, Defendants or their "alternate entities" were or are corporations, partnerships,

unincorporated associations, sole proprietorships and/or other business entities organized and

existing under and by virtue of the laws of the State of South Carolina, or the laws of some other

state or foreign jurisdiction, and that said Defendants were and/or are authorized to do business in

the State of South Carolina, and that said Defendants have regularly conducted business in the

State of South Carolina.




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                                                                                                      ELECTRONICALLY FILED-2018 May255:14 PM- RICHLAND - COMMON PLEAS- CASE#2018CP4002849
               Plaintiff has been informed and believes, and thereon alleges, that progressive lung

disease, mesothelioma and other serious diseases are caused by inhalation of asbestos fibers

without perceptible trauma and that said disease results from exposure to asbestos and asbestos-

containing products over a period of time.

               As a direct and proximate result of the conduct as alleged within, Plaintiff Paul E.

Cruise has suffered permanent injuries, including, but not limited to, mesothelioma and other lung

damage, as well as the mental and emotional distress attendant thereto, from the effect of exposure

to asbestos fibers, all to his damage in the sum of the amount as the trier of fact determines is

proper.

               As a direct and proximate result of the conduct as hereinafter alleged, Plaintiff

Paul E. Cruise incurred and is continuing to incur liability for physicians, surgeons, nurses,

hospital care, medicine, hospices, x-rays and other medical treatment, the true and exact amount

thereof being unknown to Plaintiff at this time. Plaintiff requests leave to supplement this Court

and all parties accordingly when the true and exact cost of Plaintiffs medical treatment is

ascertained.

               As a further direct and proximate result of the conduct as hereinafter alleged,

Plaintiff Paul E. Cruise has incurred, and will incur, loss of profits and commissions, a

diminishment of earning potential, and other pecuniary losses, the full nature and extent of which

are not yet known to Plaintiff. Plaintiff prays leave to supplement this Court and all parties

accordingly to conform to proof at the time of trial.




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                              FOR A FIRST CAUSE OF ACTION
                                (Product Liability: Negligence)

Plaintiff Complains of Defendants for a Cause of Action for Negligence Alleging as Follows:

                Plaintiff incorporates herein by reference, as though fully set forth herein, each and

every paragraph of the General Allegations above.

                At all times herein mentioned, each of the named Defendants was an entity and/or

the successor, successor in business, successor in product line or a portion thereof, assign,

predecessor, predecessor in business, predecessor in product line or a portion thereof, parent,

subsidiary, or division of an entity, hereinafter referred to collectively as "alternate entities,"

engaged in the business of researching, studying, manufacturing, fabricating, designing,

modifying, labeling, instructing, assembling, distributing, leasing, buying, offering for sale,

supplying, selling, inspecting, servicing, installing, contracting for installation, repairing,

marketing, warranting, re-branding, manufacturing for others, packaging and advertising a certain

product, namely asbestos, other products containing asbestos, and products manufactured for

foreseeable use with asbestos products.

               At all times herein mentioned, Defendants and/or their "alternate entities"

singularly and jointly, negligently and carelessly researched, manufactured, fabricated, designed,

modified, tested or failed to test, abated or failed to abate, inadequately warned or failed to warn

of the health hazards, failed to provide adequate use instructions for eliminating the health risks

inherent in the use of the products, labeled, assembled, distributed, leased, bought, offered for sale,

supplied, sold, inspected, serviced, installed, contracted for installation, repaired, marketed,

warranted, rebranded, manufactured for others, packaged and advertised, a certain product, namely

asbestos, other products containing asbestos, and products manufactured for foreseeable use with

asbestos products, in that said products caused personal injuries to Plaintiff and others similarly



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situated, (hereinafter collectively called "exposed persons"), while being used for their intended

purpose and in a manner that was reasonably foreseeable.

               The asbestos and asbestos-containing products were defective and unsafe for their

intended purpose in that there was an alternative for asbestos that could have been used as the

product or as a component instead of asbestos within a normally asbestos-containing/utilizing

product. Said alternatives would have prevented Defendants' asbestos and asbestos-containing

products from causing Plaintiff's mesothelioma, due to an inability of any asbestos-alternative to

penetrate the pleural lining of Plaintiff's lung, even if inhaled. Said alternatives came at a

comparable cost to each of the Defendants and/or their "alternate entities." Said alternatives were

of comparable utility to the asbestos or asbestos-containing products of Defendants and/or their

"alternate entities." The gravity of the potential harm resulting from the use of Defendants'

asbestos or asbestos-containing products, and the likelihood such harm would occur to users of its

products, far outweighed any additional cost or marginal loss of functionality in creating and/or

utilizing an alternative design, providing adequate warning of such potential harm, and/or

providing adequate use instructions for eliminating the health risks inherent in the use of their

products, thereby rendering the same defective, unsafe and dangerous for use by Plaintiff.

Defendants and/or their "alternate entities" had a duty to exercise due care in the pursuance of the

activities mentioned above and Defendants, each of them, breached said duty of due care.

               Defendants and/or their "alternate entities" knew or should have known, and

intended that the aforementioned asbestos and asbestos-containing products would be transported

by truck, rail, ship and other common carriers, that in the shipping process the products would

break, crumble or be otherwise damaged; and/or that such products would be used for insulation,

construction, plastering, fireproofing, soundproofing, automotive, aircraft and/or other




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applications, including, but not limited to grinding sawing, chipping, hammering, scraping,

sanding, breaking, removal, "rip-out," and other manipulation, resulting in the release of airborne

asbestos fibers, and that through such foreseeable use and/or handling by exposed persons,

including Plaintiff, would use or be in proximity to and exposed to said asbestos fibers.

               At all times relevant, Defendants and/or their "alternate entities" were aware of

their asbestos and asbestos-containing products' defect but failed to adequately warn Plaintiff,

Plaintiffs family members or others in their vicinity, as well as failed to adequately warn others

of the known hazards associated with their products and/or failed to recall or retrofit their products.

A reasonable manufacturer, distributor, or seller of Defendants' products would have, under the

same or similar circumstances, adequately warned of the hazards associated with their products.

               Plaintiffs family members and others in their vicinity used, handled or were

otherwise exposed to asbestos and asbestos-containing products referred to herein in a manner that

was reasonably foreseeable. Plaintiffs exposure to asbestos and asbestos-containing products

occurred at various locations as set forth in this Complaint.

               Plaintiff suffers from mesothelioma, a cancer related to exposure to asbestos and

asbestos-containing products. Plaintiff was not aware at the time of exposure that asbestos or

asbestos-containing products presented any risk of injury or disease.

               Defendants' conduct and defective products as described in this cause of action

were a direct cause of Plaintiffs injuries, and all damages thereby sustained by Plaintiff. Plaintiff

therefore seeks all compensatory damages in order to make him whole, according to proof.

               Furthermore, the conduct of Defendants and/or their "alternate entities" in

continuing to market and sell products which they knew were dangerous to Plaintiff and the public




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without adequate warnings or proper use instructions was done in a conscious disregard and

indifference to the safety and health of Plaintiff and others similarly situated.

                In researching, manufacturing, fabricating, designing, modifying, testing or failing

to test, warning or failing to warn, failing to recall or retrofit, labeling, instructing, assembling,

distributing, leasing, buying, offering for sale, supplying, selling, inspecting, servicing, installing,

contracting for installation, repairing, marketing, warranting, rebranding, manufacturing for

others, packaging and advertising asbestos and asbestos-containing products or products

manufactured for foreseeable use with asbestos products, Defendants and/or their "alternate

entities" did so with conscious disregard for the safety of "exposed persons" who came in contact

with asbestos and asbestos-containing products, in that Defendants and/or their "alternate entities"

had prior knowledge that there was a substantial risk of injury or death resulting from exposure to

asbestos, asbestos-containing products or products manufactured for foreseeable use with asbestos

products, including, but not limited to, asbestosis, mesothelioma, lung cancer, and other lung

damages. This knowledge was obtained, in part, from scientific studies performed by, at the

request of, or with the assistance of Defendants and/or their "alternate entities."

               Defendants and their "alternate entities" were aware that members of the general

public and other "exposed persons," who would come in contact with their asbestos and asbestos-

containing products, had no knowledge or information indicating that asbestos, asbestos-

containing products, or products manufactured for foreseeable use with asbestos products, could

cause injury, and Defendants and their "alternate entities," each of them, knew that members of

the general public and other "exposed persons," who came in contact with asbestos and asbestos-

containing products or products manufactured for foreseeable use with asbestos products, would




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assume, and in fact did assume, that exposure to asbestos arid asbestos-containing products was

safe, when in fact said exposure was extremely hazardous to health and human life.

               The above-referenced conduct of Defendants and their "alternate entities," was

motivated by the financial interest of Defendants, their "alternate entities," and each of them, in

the continuing, uninterrupted research, design, modification, manufacture, fabrication, labeling,

instructing, assembly, distribution, lease, purchase, offer for sale, supply, sale, inspection,

installation, contracting for installation, repair, marketing, warranting, rebranding, manufacturing

for others, packaging and advertising of asbestos, asbestos-containing products and products

manufactured for foreseeable use with asbestos products. Defendants, their "alternate entities,"

and each of them consciously disregarded the safety of "exposed persons" in pursuit of profit.

Defendants were consciously willing and intended to permit asbestos and asbestos-containing

products to cause injury to "exposed persons" without warning them of the potential hazards and

further induced persons to work with and be exposed thereto, including Plaintiff

               Plaintiff and other exposed persons did not know of the substantial danger of using

Defendants' asbestos, asbestos containing-products, and products manufactured for foreseeable

use with asbestos products. The dangers inherent in the use of these products were not readily

recognizable by Plaintiff or other exposed persons. Defendants and/or their "alternate entities"

further failed to adequately warn of the risks to which Plaintiff and others similarly situated were

exposed.

               Defendants and/or their "alternate entities" are liable for the fraudulent, oppressive,

and malicious acts of their "alternate entities," and each Defendant's officers, directors and

managing agents participated in, authorized, expressly and impliedly ratified, and had full




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knowledge of, or should have known of, the acts of each of their 'alternate entities" as set forth

herein.

                The herein-described conduct of Defendants and their "alternate entities," was and

is willful, malicious, fraudulent, and outrageous and in conscious disregard and indifference to the

safety and health of persons foreseeably exposed. Plaintiff, for the sake of example and by way

of punishing said Defendants, seeks punitive damages according to proof.

                          FOR A SECOND CAUSE OF ACTION
          (Product Liability: Strict Liability- S.C. Code Ann. sec. 15-73-10, et seq.)

As a Second and Distinct Cause of Action for Strict Liability, Plaintiff Complains of
Defendants, and Allege as Follows:

                Plaintiff incorporates herein by reference, as though fully set forth herein, each and

every paragraph of the General Allegations above.

                Plaintiff suffers from mesothelioma, a cancer related to exposure to asbestos,

asbestos-containing products and products manufactured for foreseeable use with asbestos

products. Plaintiff was not aware at the time of exposure that asbestos or asbestos-containing

products presented any risk of injury and/or disease.

               Defendants' conduct and defective products as described above were a direct cause

of Plaintiff's injuries, and the injuries and damages thereby sustained by Plaintiff.

               Furthermore, the Defendants' conduct and that of their "alternate entities" in

continuing to market and sell products which they knew were dangerous to Plaintiff and the public

without adequate warnings or proper use instructions, was done in a conscious disregard and

indifference to the safety and health of Plaintiff and others similarly situated.

               Defendants and/or their "alternate entities" knew or should have known, and

intended that the aforementioned asbestos and products containing asbestos would be transported

by truck, rail, ship and other common carriers, that in the shipping process the products would


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break, crumble or be otherwise damaged; and/or that such products would be used for insulation,

construction, plastering, fireproofing, soundproofing, automotive, aircraft and/or other

applications, including, but not limited to grinding, sawing, chipping, hammering, scraping,

sanding, breaking, removal, "rip-out," and other manipulation, resulting in the release of airborne

asbestos fibers, and that through such foreseeable use and/or handling, "exposed persons,"

including Plaintiff, would use or be in proximity to and exposed to said asbestos fibers.

               Plaintiff, Plaintiffs family members, and others in their vicinity used, handled or

were otherwise exposed to asbestos, asbestos-containing products, and products manufactured for

foreseeable use with asbestos products, referred to herein in a manner that was reasonably

foreseeable. Plaintiff's exposure to asbestos, asbestos-containing products, and products

manufactured for foreseeable use with asbestos products occurred at various locations as set forth

in this Complaint.

               Defendants and/or their "alternate entities" knew and intended that the above-

referenced asbestos and asbestos-containing products would be used by the purchaser or user

without inspection for defects therein or in any of their component parts and without knowledge

of the hazards involved in such use.

               The asbestos and asbestos-containing products were defective and unsafe for their

intended purpose in that there was an alternative for asbestos that could have been used as the

product or as a component instead of asbestos within a normally asbestos-containing/utilizing

product. Said alternatives would have prevented Defendants' asbestos, asbestos-containing

products, and products manufactured for foreseeable use with asbestos products from causing

Plaintiffs mesothelioma, due to an inability of any asbestos-alternative to penetrate the pleural

lining of Plaintiff's lung, even if inhaled. Said alternatives came at a comparable cost to each of




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the Defendants and/or their "alternate, entities." Said alternatives were of comparable utility to the

asbestos or asbestos-containing products or products manufactured for foreseeable use with

asbestos products of Defendants and/or their "alternate entities." The gravity of the potential harm

resulting from the use of Defendants' asbestos or asbestos-containing products, and the likelihood

such harm would occur, far outweighed any additional cost or marginal loss of functionality in

creating and/or utilizing an alternative design, providing adequate warning of such potential harm,

and/or providing adequate use instructions for eliminating the health risks inherent in the use of

their products, thereby rendering the same defective, unsafe and dangerous for use.

               The defect existed in the said products at the time they left the possession of

defendants, their "alternate entities," and each of them. Said products were intended to reach the

ultimate consumer in the same condition as it left defendants. Said products did, in fact, cause

personal injuries, including mesothelioma, asbestosis, other lung damage, and cancer to "exposed

persons," including Plaintiff herein, while being used in a reasonably foreseeable manner, thereby

rendering the same defective, unsafe and dangerous for use.

               Plaintiff and other exposed persons did not know of the substantial danger of using

Defendants' asbestos, asbestos-containing products, or products manufactured for foreseeable use

with asbestos products. The dangers inherent in the use of these products were not readily

recognizable by Plaintiff or other exposed persons. Said Defendants and/or their "alternate entities"

further failed to adequately warn of the risks to which Plaintiff and others similarly situated were

exposed.

               Defendants' defective products as described above were a direct cause of Plaintiff's

injuries, and the damages thereby sustained.




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                In researching, manufacturing, fabricating, dgsigning, modifying, testing or failing

to test, warning or failing to warn, labeling, instructing, assembling, distributing, leasing, buying,

offering for sale, supplying, selling, inspecting, servicing, installing, contracting for installation,

repairing, marketing, warranting, rebranding, manufacturing for others, packaging and advertising

asbestos, asbestos-containing products, and products manufactured for foreseeable use with

asbestos products, Defendants, their "alternate entities," and each of them, did so with conscious

disregard for the safety of Plaintiff and other exposed persons who came in contact with the

asbestos, asbestos-containing products, and products manufactured for foreseeable use with

asbestos products, in that Defendants and/or their "alternate entities" had prior knowledge that

there was a substantial risk of injury or death resulting from exposure to asbestos or asbestos-

containing products or products manufactured for foreseeable use with asbestos products,

including, but not limited to, mesothelioma, asbestosis, other lung damages and cancers. This

knowledge was obtained, in part, from scientific studies performed by, at the request of, or with

the assistance of Defendants and/or their "alternate entities."

               Defendants and/or their "alternate entities" were aware that members of the general

public and other exposed persons, who would come in contact with their asbestos and asbestos-

containing products, had no knowledge or information indicating that asbestos or asbestos-

containing products or products manufactured for foreseeable use with asbestos products could

cause injury. Defendants and/or their "alternate entities" further knew that members of the general

public and other exposed persons, who came in contact with asbestos, asbestos-containing

products, and products manufactured for foreseeable use with asbestos products would assume,

and in fact did assume, that exposure to asbestos and asbestos- containing products was safe, when

in fact exposure was extremely hazardous to health and human life.




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                The above-referenced conduct of Defendants and/or their "alternate entities"

motivated by the financial interest of Defendants, their "alternate entities," and each of them, in

the continuing and uninterrupted research, design, modification, manufacture, fabrication,

labeling, instructing, assembly, distribution, lease, purchase, offer for sale, supply, sale, inspection,

installation, contracting for installation, repair, marketing, warranting, rebranding, manufacturing

for others, packaging and advertising of asbestos, asbestos-containing products, and products

manufactured for foreseeable use with asbestos products. Defendants and/or their "alternate

entities" consciously disregarded the safety of "exposed persons" in their pursuit of profit and in

fact consciously intended to cause injury to Plaintiff and other exposed persons and induced

persons to work with, be exposed to, and thereby injured by asbestos, asbestos-containing

products, and products manufactured for foreseeable use with asbestos products.

                Defendants are liable for the fraudulent, oppressive, and malicious acts of their

"alternate entities," and each Defendant's officers, directors and managing agents participated in,

authorized, expressly and impliedly ratified, and knew, or should have known of, the acts of each

of their "alternate entities" as set forth herein.

                The conduct of said defendants, their "alternate entities," and each of them as set

forth in this Complaint, was and is willful, malicious, fraudulent, outrageous and in conscious

disregard and indifference to the safety and health of exposed persons. Plaintiff, for the sake of

example and by way of punishing said Defendants, seeks punitive damages according to proof.

                At all times herein mentioned, each of the named Defendants was an entity and/or

the successor, successor in business, successor in product line or a portion thereof, assign,

predecessor, predecessor in business, predecessor in product line or a portion thereof, parent,

subsidiary, or division of an entity, hereinafter referred to collectively as "alternate entities,"




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engaged in the business of researching, studying, mapufacturing, fabricating, designing,

modifying, labeling, instructing, assembling, distributing, leasing, buying, offering for sale,

supplying, selling, inspecting, servicing, installing, contracting for installation, repairing,

marketing, warranting, re-branding, manufacturing for others, packaging and advertising a certain

product, namely asbestos, other products containing asbestos and products manufactured for

foreseeable use with asbestos products.

                           FOR A THIRD CAUSE OF ACTION
            (Vicarious Liability of Defendants Based upon Respondeat Superior)

As a Third Distinct Cause of Action Against Defendants, Plaintiff Brings this Third Cause
of Action for Vicarious Liability of Defendants Based upon Respondeat Superior and Allege
as Follows:

               Plaintiff incorporates by reference, as though fully set forth herein, each and every

paragraph of the General Allegations above.

               Prior to and dun ng all relevant times Defendants cmployed workers (hereinafter

"employees") in areas where defendants owned, maintained, controlled, managed and/or

conducted business activities where Plaintiff worked and/or spent time as alleged above.

               At all times herein mentioned, Defendants' employees frequently encountered

asbestos-containing products, materials, and debris during the course and scope of their

employment, and during their regular work activities negligently disturbed asbestos-containing

materials to which Plaintiff was exposed.

               Employees handling and disturbing asbestos-containing products in Plaintiffs

vicinity were the agents and employees of defendants and at all times relevant were subject to the

control of Defendants with respect to their acts, labor, and work involving (a) the removal,

transport, installation, cleaning, handling, and maintenance of asbestos-containing products,

materials, and debris, and (b) the implementation of safety policies and procedures. Defendants



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controlled both the means and manner of performance of the work of their employees as described

herein.

               Employees handling and disturbing asbestos-containing products in Plaintiff's,

Plaintiff's family members and others' vicinity received monetary compensation from Defendants

in exchange for the work performed and these employees performed the work in the transaction

and furtherance of Defendants' businesses.

               Harmful asbestos fibers were released during Defendants' employees' use,

handling, breaking, or other manipulation of asbestos-containing products and materials.

               Once released, the asbestos fibers contaminated the clothes, shoes, skin, hair, and

body parts of those exposed, including Plaintiff, who also inhaled those fibers, and on the surfaces

of work areas, where further activity caused the fibers to once again be released into the air and

inhaled by Plaintiff

               The asbestos and asbestos-containing materials were unsafe in that handling and

disturbing products containing asbestos causes the release of asbestos fibers into the air onto

surrounding surfaces, and onto persons in the area. The inhalation of asbestos fibers can cause

serious disease and death.

               Defendants' employees' use, handling and manipulation of asbestos-containing

materials, as required by their employment and occurring during the course and scope of their

employment, did in fact, cause personal injuries, including mesothelioma and other lung damage,

to exposed persons including Plaintiff

               Defendants' employees were negligent in their use, handling and manipulation of

said products in that they failed to isolate their work with asbestos and/or to suppress asbestos

fibers from being released into the air and surrounding areas. They also failed to take appropriate




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steps to learn how to prevent exposure to asbestos, failed to warn and/or adequately warn Plaintiff

that he was being exposed to asbestos, failed to adequately warn Plaintiff of the harm associated

with his exposure to asbestos, and provide him with protection to prevent his inhalation of asbestos.

               Defendants' employees knew or should have known that failure to take such steps

would result in exposure to bystanders including Plaintiff.

               Defendants' employees owed Plaintiff a duty to exercise due care and diligence in

their activities while he was lawfully on the premises so as not to cause him harm.

               Defendants' employees breached this duty of care as described above.

               At all times mentioned, Plaintiff was unaware of the dangerous condition and

unreasonable risk of personal injury created by Defendants' employees' use of and work with

asbestos-containing products and materials.

               As a direct result of the Defendants' employees conduct, Plaintiff's exposure to

asbestos, asbestos-containing materials, and products manufactured for foreseeable use with

asbestos products, each individually and together, caused severe and permanent injury to Plaintiff

and the damages and injuries as complained of herein by Plaintiff.

               The risks herein alleged and the resultant damages suffered by the Plaintiff were

typical of or broadly incidental to Defendants' business enterprises. As a practical matter, the

losses caused by the torts of Defendants' employees as alleged were sure to occur in the conduct

of Defendants' business enterprises. Nonetheless, Defendants engaged in, and sought to profit by,

their business enterprises without exercising due care as described in this Complaint, which, on

the basis of past experience, involved harm to others as shown through the torts of employees.




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               Based on the foregoing, Defendants as the employers of said employees are

vicariously liable under the doctrine of respondeat superior for all negligent acts and omissions

committed by their employees in the course and scope of their work that caused harm to Plaintiff.

                   \—     FOR A FOURTH CAUSE OF ACTION
              (Premises Liability: Negligence as to Premise Owner/Contractor)

As a Fourth Distinct Cause of Action for General Negligence, Plaintiff Complains of
Defendants, and Allege as Follows:

               Plaintiff incorporates herein by reference, as though fully set forth, each and every

paragraph of the General Allegations above.

               Prior to and during all relevant times, Defendants employed workers in areas where

Defendants owned, maintained, controlled, managed and/or conducted business activities where

Plaintiff worked and/or spent time.

               At all times herein mentioned, Defendants selected, supplied, and distributed

asbestos-containing materials to their employees for use during their regular work activities, and

said employees disturbed those asbestos-containing materials.

               Defendants were negligent in selecting, supplying, distributing and disturbing the

asbestos-containing products and in that said products were unsafe. Said products were unsafe

because they released asbestos fibers and dust into air when used which would be inhaled by

Plaintiff and settled onto Plaintiffs clothes, shoes, hands, face, hair, skin, and other body parts

thus creating a situation whereby workers and by-standers including Plaintiff would be exposed to

dangerous asbestos dust beyond the present.

               The asbestos, asbestos-containing materials, and products manufactured for

foreseeable use with asbestos products described herein were unsafe in that handling and

disturbing products containing asbestos causes the release of asbestos fibers into the air, and the

inhalation of asbestos fibers causes serious disease and death. Here, the handling of the above-


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described asbestos-containing materials by Defendants' employees, as required by their

employment and occurring during the course and scope of their employment, did, in fact, cause

personal injuries, including mesothelioma and other lung damage, to exposed persons, including

Plaintiff.

               At all times herein mentioned, Defendants knew or should have known that its

employees and bystanders thereto, including Plaintiff, frequently encountered asbestos-containing

products and materials during the course and scope of their work activities.

               At all times herein mentioned, Defendants knew or should have known that the

asbestos-containing materials encountered by its employees and bystanders thereto including

Plaintiff, were unsafe in that harmful asbestos fibers were released during the use, handling,

breaking, or other manipulation of asbestos-containing products and materials, and that once

released, asbestos fibers can be inhaled, and can alight on the clothes, shoes, skin, hair, and body

parts of those exposed, where further activity causes the fibers to once again be released into the

air where they can be inhaled, all of which causes serious disease and/or death.

                At all times herein mentioned, Defendants, in the exercise of reasonable diligence,

should have known that absent adequate training and supervision, their employees and bystanders

thereto including Plaintiff were neither qualified nor able to identify asbestos-containing products

nor to identify the hazardous nature of their work activities involving asbestos-containing products.

               At all times herein mentioned, Plaintiff was unaware of the dangerous condition

and unreasonable risk of personal injury created by the presence and use of asbestos-containing

products and materials.

                At all times herein mentioned, Defendants, in the exercise of reasonable diligence,

should have known that workers and bystanders thereto, would bring dangerous dust home from




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the workplace and contaminate their family cars and homes, continuously exposing and potentially

causing injury to others off the premises.

               At all times herein mentioned, Defendants had a duty to use due care in the

selection, supply, distribution and disturbance of asbestos-containing products and materials to its

employees, to adequately instruct, train, and supervise their employees and to implement adequate

safety policies and procedures to protect workers and persons encountering those workers,

including Plaintiff, from suffering injury or death as a result of the asbestos hazards encountered

and created by the work of Defendants' employees.

                Defendants' duties as alleged herein exist and existed independently of

Defendants' duties to maintain their premises in reasonably safe condition, free from concealed

hazards.

               Defendants negligently selected, supplied, and distributed the asbestos-containing

materials and failed to adequately train or supervise their employees to identify asbestos-

containing products and materials; to ensure the safe handling of asbestos-containing products and

materials encountered during the course of their work activities; and to guard against inhalation of

asbestos fibers and against the inhalation of asbestos fibers by those who would come into close

contact with them after they had used, disturbed, or handled, said asbestos-containing products

and materials during the course and scope of their employment by defendants.

               Defendants failed to warn its employees and bystanders thereto, including Plaintiff,

of the known hazards associated with asbestos and the asbestos-containing materials they were

using and/or disturbing.

               As a direct and proximate result of the conduct of Defendants in selecting,

supplying, distributing and disturbing asbestos-containing materials or products manufactured for




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foreseeable use with asbestos products and failing to adequately train and supervise their

employees and failing to adopt and implement adequate safety policies and procedures as alleged

herein, Plaintiff became exposed to and inhaled asbestos fibers, which was a substantial factor in

causing Plaintiff to develop asbestos-related mesothelioma, and to suffer all damages attendant

thereto.

                           FOR A FIFTH CAUSE OF ACTION
             (Negligence due to voluntary assumption of duty by AT&T Corp.)

As a Fifth Distinct Cause Of Action for Negligence due to AT&T Corp.'s voluntary
assumption of duty, Plaintiff Complains of Defendant AT&T Corp. and Alleges as Follows:


               Plaintiff repeats the general allegations, as well as allegations of the First, Second,

Third and Fourth Causes of Action where relevant.

               At various times throughout his career, Plaintiff was exposed to asbestos

from asbestos-containing products manufactured by Western Electric Company, including but not

limited to wiring and cables.

               Plaintiff worked with asbestos containing products manufactured by Western

Electric Company, Inc. for whom AT&T Corp. gratuitously undertook to provide with

comprehensive safety information regarding the hazards of asbestos in Western Electric's

products.

               Furthermore, AT&T Corp., gratuitously provided Western Electric with

specifications, policies and procedures for manufacturing asbestos-containing products. AT&T

Corp. further gratuitously provided Western Electric with specifications for when and how




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asbestos would be removed from the, products manufactured by Western Electric, including but

not limited to wiring and cable.

               In providing this information to Western Electric, AT&T Corp. did not act in a

managerial or policymaking capacity for Western Electric. At all times, AT&T Corp.

maintained the corporate formalities and separate corporate identities of itself and Western

Electric.

               Alternatively, AT&T Corp. dominated and controlled Western Electric. AT&T

Corp. knowingly and intentionally disregarded its specific and longstanding knowledge of the

hazards of asbestos and the dangers faced by users of Western Electric asbestos-containing

products for its pecuniary gain.

               While engaging in the conduct described above, AT&T Corp. knew, based on prior

reports of individuals contracting cancer from working with and around asbestos-containing

products and based on explicit warnings specifically identifying cancer from exposure to asbestos

dust created by asbestos containing products, that it was virtually certain to result in injury or

death of users of Western Electric's asbestos containing products like Plaintiff Paul Cruise.

                           FOR A SIXTH CAUSE OF ACTION
       (Product Liability: Breach of Implied Warranties- S.C. Code Ann. 36-2-314)

As a Sixth Distinct Cause Of Action for Breach of Implied Warranties, Plaintiff Complains
of Defendants and Alleges as Follows:

               Plaintiff repeats the general allegations, as well as allegations of the First and

Second, of Action where relevant.

               Each of the Defendants impliedly warranted that their asbestos materials or

asbestos-containing products were of good and merchantable quality and fit for their intended use.




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                The implied warranty made by the Defendapts that the asbestos and asbestos-

containing products were of good and merchantable quality and fit for the particular intended use,

was breached. As a result of that breach, asbestos was given off into the atmosphere where Plaintiff

Paul E. Cruise carried out his duties and was inhaled by Plaintiff.

                As a direct and proximate result of the breach of the implied warranty of good and

merchantable quality and fitness for the particular intended use, Plaintiff Paul E. Cruise was

exposed to Defendants' asbestos, asbestos-containing products, and/or products manufactured for

foreseeable use with asbestos products and consequently developed mesothelioma, causing

Plaintiff to suffer all damages attendant thereto.

                               FOR A SEVENTH CAUSE OF ACTION
                                  (Fraudulent Misrepresentation)

For a Sixth Distinct Cause of Action for Fraudulent Misrepresentation, Plaintiff Complains
of Defendants, and Allege as Follows:

                    Plaintiff repeats and re-alleges the portions of the above paragraphs where relevant.

                That during, before and after Plaintiff Paul E. Cruise's exposure to asbestos

products manufactured by Defendants, the Defendants falsely represented facts, including the

dangers of asbestos exposure to Plaintiff in the particulars alleged in the paragraphs above, while

Defendants each had actual knowledge of said dangers of asbestos exposure to persons such as

Plaintiff Paul E. Cruise. At the same time of these misrepresentations, Defendants each knew of

the falsity of their representations and/or made the representations in reckless disregard of their

truth or falsity.

                    The foregoing representations were material conditions precedent to Plaintiff

Paul E. Cruise's continued exposure to asbestos-containing products. Defendants each intended

that Plaintiff act upon the representations by continuing his work around, and thereby exposure to,




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the asbestos products. Plaintiff was ignorant of the falsity of Defendants' representations and

rightfully relied upon the representations.

               As a direct and proximate result of Plaintiff Paul E. Cruise's reliance upon

Defendants' false representations, Plaintiff has suffered injury and damages as described herein.

                       FOR AN EIGHTH CAUSE OF ACTION
    (Conspiracy, Concert of Action- Defendant Metropolitan Life Insurance Company)

               Plaintiff repeats and re-alleges the portions of the above paragraphs where relevant.

               Beginning in the late 1920's, conspirators including Defendant Metropolitan Life

Insurance Company ("Met Life"), as well as Johns-Manville, Raybestos-Manhattan and others,

undertook a duty to conduct research on asbestos-related health problems and to inform the public

about any health risks that could be associated therewith. In or about 1929, Met Life, through its

agents and employees acting within the scope of their agency and employment, including but not

limited to Dr. Anthony J. Lanza ("Lanza"), began an investigation of asbestos-related health

hazards. In 1935, this study was altered by Lanza, with the full knowledge of Met Life, at the

request of and in concert with the asbestos industry in order to wrongly influence the United States

Public Health Service, the United States medical community and various state legislatures.

               Thereafter, Defendant Met Life through the acts and omissions of its employees,

most notably Lanza, undertook a series of activities with various members of the asbestos industry

including but not limited to Johns-Manville, Raybestos-Manhattan/ Raymark Industries, Inc.,

United States Gypsum, American Brake Blok/Abex, and others to suppress and misrepresent the

dangers of exposure to asbestos dust to employees of Met Life's. insureds and the general public

and the medical community.

               The conspirators through their agent, Lanza of Met Life, made a concerted effort to

discredit and to terminate the experiments of certain scientists who were developing data of



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profound importance for the area of public health in relatipn to the cancer hazard which existed

for workers and bystanders in the asbestos industry.

               As a direct and proximate result of Met Life's intentional publication of deceptive

and misleading medical data and information, and other conspiratorial acts and omissions,

Defendant caused asbestos to be used in the occupational settings from which Plaintiff breathed

asbestos dust which resulted in Plaintiffs injuries. Defendant Met Life, through its agents and

employees and officers, aided and abetted and gave substantial assistance to Johns-Manville and

Raybestos-Manhattan in their tortious selling of asbestos products and voluntarily undertook a

duty to warn the United States Public Health Service, the medical community, and others about

the danger of asbestos and consciously and negligently misrepresented the dangers of asbestos to

the United States Public Health Service, the medical community, and others, all to the ultimate

harm of Plaintiff herein.

               Defendant Met Life rendered substantial aid and assistance to the manufacturers of

asbestos-containing products to which Plaintiff was exposed, and such assistance by Met Life

aided and abetted the negligence and the marketing of unreasonably dangerous asbestos-containing

products by such manufacturers which proximately caused Plaintiffs illness.

               In both conducting tests and in publishing their alleged results, Met Life failed to

exercise reasonable care to conduct or publish complete, adequate and accurate tests of the health




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  effects of asbestos. Met Life also caused to be published intentionally false, misleading, inaccurate

  and deceptive information about the health effects of asbestos exposure.

                 Plaintiff unwittingly and justifiably relied upon the thoroughness of Met Life's tests

  and information dissemination, the results of which Met Life published in leading medical

  journals.

                 As a direct and proximate contributing result of Met Life's failures to conduct or

  accurately publish adequate tests or disseminate accurate and truthful information, after

  undertaking to do so; (i) the risk of harm to Plaintiff from asbestos exposure was increased, and

 (ii) Plaintiff suffered the injuries described herein.

                 In failing to test fully and adequately for the adverse health effects from exposure

 to asbestos; in delaying the publication of such results; and in falsely editing such results as were

 obtained; in suppressing relevant medical inquiry and knowledge about those hazards to promote

 the sale and distribution of asbestos as a harmless product; and in collaborating with the other

 Defendants materially to understate the hazards of asbestos exposure, all for its own profit and

 gain, Met Life acted recklessly, wantonly, and in calculated disregard for the welfare of the general

 public, including Plaintiff.

                Additionally and alternatively, as a direct and proximate result of Met Life's actions

 and omissions, Plaintiff was caused to remain ignorant of all the dangers of asbestos resulting in

 Plaintiff's wife, his co-workers, his family, and the general public to be unaware of the true and

 full dangers of asbestos, depriving Plaintiff of the opportunity to decide for himself whether he




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wanted to take the risk of being exposed to asbestos, denied Plaintiff the opportunity to take

precautions against the dangers of asbestos and proximately caused Plaintiff's damages herein.

               During the relevant time period the Plaintiff was exposed to and did inhale and/or

ingest asbestos dust, fibers, and particles, which dust, fibers, and particles came from the asbestos

or asbestos-containing products which were mined, milled, manufactured, fabricated, supplied,

and/or sold by the Johns Manville and/or Raybestos/Raymark.

               Defendant, Met Life, together with Manville, Raymark and other persons and

entities, known and unknown at times relevant hereto, engages in a conspiracy or concert of action

to inflict injury on the Plaintiff, and to withhold, alter, suppress and misrepresent information about

the health effects of asbestos exposure. One or more of said conspirators did cause tortious injury

to the Plaintiff or his wife in the course of or as a consequence of the conspiracy of concert of

action. At least the following enumerated acts were undertaken by the conspirators in the course

of and in furtherance of the conspiracy or concert of action:

               In 1932, Met Life, through Lanza and others, assisted Manville with medical
               examinations of over 1,000 employees of Manville's factory in Manville, New
               Jersey. The report of this study shows that a large percentage of the employees
               suffered from asbestosis including employees not directly involved in the
               manufacturing process. This 1932 medical survey was not published in the medical
               literature and, therefore, was unavailable to scientists studying the issue of asbestos-
               related disease. Further collaboration between Manville and Met Life continued
               the cover-up.

               Beginning in approximately 1934, Manville, through its agents, Vandiver Brown
               and Attorney J.C. Hobart, suggested to Lanza, Associate Director of Met Life,
               which was then insurer of Manville and Raymark, that Lanza publish a study on
               asbestosis in which Lanza would affirmatively misrepresent material facts about
               the health consequences of asbestos exposure. This was accomplished through
               intentional deletion of Lanza's description of asbestosis as 'fatal' and through other
               selective editing that affimiatively misrepresent asbestosis as a disease process less
               serious than it actually is and was known to be. As a result, Lanza's study was
               published in the medical literature in this misleading fashion in 1935. The
               conspirators were motivated, in part, to effectuate this fraudulent misrepresentation
               and fraudulent nondisclosure by the desire to influence proposed legislation to
               regulate asbestos exposure and to provide a defense in lawsuits involving Manville,


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        Raymark, and Met L.ife.as insurer. Furthermore, upon information and belief, it is
        alleged that Met Life, at all times relevant hereto, had substantial monetary
        investments in Manville and Raymark, among other asbestos product
        manufacturers and distributors.

        In 1936, the conspirators or some of them entered into an agreement with the
        Saranac Laboratories. Under this agreement, these conspirators acquired the power
        to decide what information Saranac could publish about asbestos disease and to
        control in what form such publications would occur. This agreement gave these
        conspirators power to affirmatively misrepresent the results of the work at Saranac,
        and also gave these conspirators power to material facts included in any study. On
        numerous occasions thereafter, the conspirators exercised their power to prevent
        Saranac scientists from disclosing material scientific data, resulting in numerous
        misstatements of fact being made at scientific meetings.

        By November 1948, or earlier, Manville, Met Life (acting through Lanza),
        Raymark, and others decided to exert their influence to materially alter and
        misrepresent material facts about the substance of research started by Dr. Leroy
        Gardner at the Saranac Laboratories beginning in 1936. Dr. Gardner's research
        involved carcinogenicity of asbestos in mice and also included an evaluation of the
        health effects of asbestos on humans with a critical review of the then-existing
        standards of dust exposure for asbestos and asbestos products.

       At a meeting on November 11, 1948, these conspirators and others intentionally
       and affirmatively determined that Dr. Gardner's work should be edited to
       specifically delete material facts about the cancer-causing propensities of asbestos
       and the health effects of asbestos on humans and they determined that only an
       edited version would be published. These conspirators thereby fraudulently
       misrepresented the risks of asbestos exposure to the public, in general, and to the
       class of persons exposed to asbestos, including the Plaintiff

 (0    As a direct result of influence exerted by the above described conspirators, Dr.
       Arthur Vorwald published Dr. Gardner's edited work in the Journal of Industrial
       Hygiene, AMA Archives of Industrial Hygiene and Occupational Health in 1951
       in a form that stressed those portions of Dr. Gardner's work that the conspirators
       wished stressed, but which omitted references to human asbestosis and cancer,
       thereby fraudulently and affirmatively misrepresenting the extent of the risks. The
       conspirators affirmatively and deliberately disseminated this misleading Vorwald
       publication to universities, libraries, government officials, agencies and others.

       Such action constituted a material affirmative misrepresentation of the material
       facts involved in Dr. Gardner's work and resulted in creating an appearance that
       inhalation of asbestos was a less serious health concern than Dr. Gardner's unedited
       work indicated.

       For many decades, Met Life, individually, jointly and in conspiracy with Manville
       and Raymark, have been in possession of medical and scientific data, literature, and


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               test reports which clearly indicated that thejnhalation of asbestos dust and fibers
               resulting from the ordinary foreseeable use of said asbestos-containing products
               and/or machinery requiring or calling for the use of asbestos or asbestos-containing
               products were unreasonably dangerous, hazardous, deleterious to human health,
               carcinogenic, and potentially deadly.

       (i)     Despite the medical and scientific data, literature and test reports possessed by and
               available to Met Life, individually and in conspiracy with Manville and Raymark,
               Fraudulently, willfully and maliciously withheld, concealed and suppressed said
               medical and scientific data, literature and test reports regarding the risks of
               asbestosis, cancer, mesothelioma, and other illnesses and diseases from Plaintiff
               who using and being exposed to Manville or Raymark asbestos-containing products
               and/or machinery requiring or calling for the use of asbestos and/or asbestos-
               containing products; caused to be released, published and disseminated medical
               and scientific data, literature and test reports containing information and statements
               regarding the risks of asbestosis, cancer, mesothelioma and other illnesses and
               diseases, which Metropolitan, Manville and Raymark knew were either incorrect,
               incomplete, outdated and misleading; distorted the results of medical examinations
               conducted upon workers who were using asbestos-containing products and/or
               machinery requiring or calling for the use of asbestos and/or asbestos-containing
               products and being exposed to the inhalation of asbestos dust and fibers by falsely
               stating and/or concealing the nature and extent of the harm which workers suffered;
               and failed to adequately warn the Plaintiff of the dangers to which he was exposed
               when they knew of the dangers.

       (0      By the false and fraudulent representations, omissions, failures, and concealments
               set forth above, Met Life, Manville and Raymark, individually, jointly, and in
               conspiracy with each other, intended to induce the Plaintiff to rely upon said false
               and fraudulent representations, omissions, failures, and concealments, to continue
               to expose themselves to the dangers inherent in the use of and exposure to their
               asbestos-containing products and/or machinery requiring or calling for the use of
               asbestos and/or asbestos-containing products. Said misrepresentations were false,
               incomplete, and misleading and constitute negligent misrepresentations as defined
               by Sections 311 and 522 of the Restatement (Second) of Torts.

               Plaintiff reasonably and in good faith relied upon the false and fraudulent

representations, omissions, failures, and concealments made by Met Life, Manville, and Raymark

regarding the nature of their asbestos-containing products and/or machinery requiring or calling

for the use of asbestos and/or asbestos-containing products.

               As a direct and proximate result of the conspiracy and concert of action between

Met Life, Manville and Raymark, the Plaintiff has been deprived of the opportunity of informed



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  free choice and connection with the use of and exposure to Manville and Raymark's asbestos and

  asbestos-containing products, and therefore continued to work with and be exposed to the co-

  conspirator corporation's asbestos and asbestos-containing products and as a result brought home

  on his clothes, hair, shoes, and in his case asbestos dust or fibers contracted asbestos-related

  diseases and other conditions, and/or aggravated pre-existing conditions, as a result of which the

  Plaintiff has been damaged.

                                         PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays judgment, joint and several, against Defendants and/or their

  "alternate entities" in an amount to be proved at trial, as follows:

                 For Plaintiffs actual damages according to proof, including Plaintiff's pain &

  suffering, as well as medical bills;

                 For loss of earnings according to proof;

                 For loss of care, comfort and society;

                 For punitive damages according to proof;

                 For Plaintiff's cost of suit herein;

                 For damages for fraudulent misrepresentation according to proof; and

                 For such other and further relief as the Court may deem just and proper, including

  costs and prejudgment interest as provided by South Carolina law.

         Respectfully submitted,

                                     DEAN OMAR BRANHAM, LLP


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